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          17                         UNITED STATES DISTRICT COURT
          18                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                          SOUTHERN DIVISION
          19
                 MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
          20     a Delaware corporation; and
                 CERCACOR LABORATORIES, INC.,                APPLE’S NOTICE OF MOTION AND
          21     a Delaware corporation,                     MOTION TO DISMISS THE
                                                             THIRTEENTH CAUSE OF ACTION
          22                        Plaintiffs,              IN PLAINTIFFS’ THIRD AMENDED
                                                             COMPLAINT
          23           v.
                                                             Hearing
          24     APPLE INC.,
                 a California corporation,
          25                                                 Date:         January 4, 2021
                                    Defendant.               Time:         1:30 p.m.
          26                                                 Courtroom:    10C
                                                             Judge:        Hon. James V. Selna
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Crutcher LLP     APPLE’S NOTICE OF MOT. TO DISMISS
                 THE THIRTEENTH CAUSE OF ACTION IN THE TAC             CASE NO. 8:20-CV-00048-JVS (JDEX)
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            1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
            2          PLEASE TAKE NOTICE that on January 4, 2021, at 1:30 p.m., or as soon
            3    thereafter as the matter may be heard, in Courtroom 10C of the United States District
            4    Court for the Central District of California at Ronald Reagan Federal Building and
            5    United States Courthouse, 411 W. Fourth Street, Santa Ana, California, 92701,
            6    Defendant Apple Inc. (“Apple”) will and hereby does move the Court under Federal
            7    Rule of Civil Procedure 12(b)(6) to dismiss with prejudice the Thirteenth Cause of
            8    Action for trade secret misappropriation under the California Uniform Trade Secret Act
            9    (“CUTSA”) asserted by Plaintiffs Masimo Corporation (“Masimo”) and Cercacor
          10     Laboratories, Inc. (“Cercacor”) (collectively, “Plaintiffs”) against Apple in the Third
          11     Amended Complaint (“TAC”) filed in the above-captioned matter (ECF 233).
          12           Plaintiffs’ CUTSA claim is facially deficient for at least the following two
          13     reasons:
          14           First, despite this Court’s prior orders (see ECF 60, 219), Plaintiffs fail to plead
          15     their alleged trade secrets in a manner that puts Apple on notice of the bounds of the
          16     claim. Plaintiffs still allege six overbroad categories with improper catchall language
          17     that provide no way for Apple or the Court to distinguish the alleged secrets from
          18     information generally known in the trade or to know the boundaries of this case.
          19     Plaintiffs’ continued failure to describe the alleged trade secrets at this stage—eleven
          20     months after filing the case, with leave to file under seal, and with specific direction
          21     from the Court—warrants dismissal with prejudice.
          22           Second, Plaintiffs fail to sufficiently allege reasonable efforts to protect their trade
          23     secrets. Plaintiffs plead no facts that justify their complete failure to take any action as
          24     their alleged trade secrets and inventions published year after year.              Plaintiffs’
          25     conclusory recitals of boilerplate secrecy measures, untethered to the alleged trade
          26     secrets misappropriated, are not entitled to an assumption of truth and do not overcome
          27     the factual allegations to the contrary.
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                 THE THIRTEENTH CAUSE OF ACTION IN THE TAC 1               CASE NO. 8:20-CV-00048-JVS (JDEX)
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            1          Third, Plaintiffs fail to plead misappropriation of any trade secret by Apple.
            2    Plaintiffs do not allege sufficient facts to plausibly claim that Apple knew or should have
            3    known that it had acquired, disclosed, or used any of Plaintiffs’ alleged trade secrets or
            4    even that it did so. Plaintiffs’ misappropriation allegations hinge on former employees,
            5    Marcelo Lamego and Michael O’Reilly. But Plaintiffs fail to allege facts plausibly
            6    establishing that Apple knew or had reason to know that Lamego or O’Reilly had a duty
            7    to maintain the secrecy of the unidentified information they purportedly shared with
            8    Apple, or that Lamego or O’Reilly breached that duty. Further, Plaintiffs fail to allege
            9    which purported trade secrets were used, how they were used, or when they were used.
          10     Finally, Plaintiffs fail to plausibly allege either that Apple induced Lamego or O’Reilly
          11     to breach a duty to Plaintiffs or facts permitting the application of the doctrine of
          12     respondeat superior.
          13           Accordingly, Plaintiffs’ CUTSA claim should be dismissed with prejudice.
          14           This Motion is based on this Notice of Motion and Motion, the accompanying
          15     Memorandum of Points and Authorities (unredacted Memorandum of Points and
          16     Authorities filed concurrently with Apple’s Application to File Apple’s Memorandum
          17     of Points and Authorities Under Seal), Apple’s Request for Judicial Notice and the
          18     supporting Declaration of Joshua Lerner and exhibits attached thereto (unredacted
          19     Declaration of Joshua Lerner and exhibits attached thereto filed concurrently with
          20     Apple’s Application to File Under Seal), the Original Complaint, the FAC, the SAC, the
          21     TAC, all pleadings and papers on file in this action, and such further evidence and
          22     argument as may be presented at or before the hearing on this matter.
          23           This Motion is made following the conference of counsel pursuant to Local Rule
          24     7-3, which took place on November 20, 2020.
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                 THE THIRTEENTH CAUSE OF ACTION IN THE TAC 2             CASE NO. 8:20-CV-00048-JVS (JDEX)
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            1    Dated: November 30, 2020.            Respectfully submitted,
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            3                                         BRIAN M. BUROKER
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            4                                         ANGELIQUE KAOUNIS
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            5
            6
                                                      By: /s/ Joshua H. Lerner
            7                                             Joshua H. Lerner
            8
                                                      Attorneys for Defendant Apple Inc.
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Crutcher LLP     APPLE’S NOTICE OF MOT. TO DISMISS
                 THE THIRTEENTH CAUSE OF ACTION IN THE TAC 3         CASE NO. 8:20-CV-00048-JVS (JDEX)
